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                      Exhibit K
   Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 2 of 25 PageID #:478




                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 12, 2022

VIA EMAIL

Ms. Taylor Gunnells
           REDACTED




                               Re:     Resignation of Employment

Dear Ms. Gunnells:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective October 11, 2021, (the “Agreement”).
Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 1, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 11, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your


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630.773.3800
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                                                                                  Ms. Taylor Gunnells
                                                                                        July 12, 2022
                                                                                               Page 2


future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.

         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its confidential information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (at david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-


1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
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                                                                                Ms. Taylor Gunnells
                                                                                      July 12, 2022
                                                                                             Page 3


employment conduct is governed not only by the Agreement, but by certain state statutes and
common law as well.

        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Please immediately bring any and all mobile devices to Gallagher’s offices in compliance
with the Mobile Device Policy that you signed. A copy of that agreement is attached. Do not
delete, destroy, transfer, modify or otherwise alter any information on your mobile devices. Do not
allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on your mobile devices.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

       We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Enclosure

cc:    Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
   Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 5 of 25 PageID #:481




                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 12, 2022

VIA EMAIL

Ms. Jordan Laeyendecker
            REDACTED




                               Re:     Resignation of Employment

Dear Ms. Laeyendecker:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective January 18, 2016, (the “Agreement”).
Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 1, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 11, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your

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                                                                             Ms. Jordan Laeyendecker
                                                                                        July 12, 2022
                                                                                               Page 2


future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.

         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its Confidential Information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-


1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
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                                                                            Ms. Jordan Laeyendecker
                                                                                       July 12, 2022
                                                                                              Page 3


employment conduct is governed not only by the Agreement, but by certain state statutes and common
law as well.

        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Please immediately bring any and all mobile devices to Gallagher’s offices in compliance
with the Mobile Device Policy that you signed. A copy of that agreement is attached. Do not
delete, destroy, transfer, modify or otherwise alter any information on your mobile devices. Do not
allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on your mobile devices.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

         We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Encls.

cc:      Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
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                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 13, 2022

VIA EMAIL

Mr. Brian Eldridge
Hart McLaughlin & Eldridge
22 W. Washington Street, Suite 1600
Chicago, Illinois 60602
beldridge@hmelegal.com

                               Re:     Kristen Long

 Dear Mr. Eldridge:

       I represent Arthur J. Gallagher & Co., with regard to this matter. This letter is in
response to your letter to Patrick Gallagher of July 11, 2022.

        Ms. Long was not constructively discharged. She remains a Gallagher employee until
her notice period expires on August 1, 2022 and she remains subject to the provisions of her
Employee Agreement that she executed November 13, 2014. The allegations that you made in
your letter are extremely serious and we take them seriously. We believe that Ms. Long was
provided with significant accommodations and significant support. Obviously, perspectives
differ. Please provide us with the specifics behind the general allegations that you have made
and we will investigate them immediately.

        Ms. Long’s duties as a Gallagher employee, including her fiduciary duties to Gallagher,
remain in full force and effect. That means, without limiting the scope of the obligation, that she
must refrain from any conduct or activity that does not serve Gallagher’s best interests. While she
will be excused from day-to-day attendance at work during this time period, she must continue to
work in Gallagher’s best interests. She has a contractual obligation to help Gallagher transition her
responsibilities, including her client representation responsibilities, to other Gallagher personnel.
Please ensure that Ms. Long contacts Jeff Devron immediately and schedules a meeting to identify
the tasks that she must perform to meet her contractual obligations, including addressing any
questions he may have relating to status of client matters, renewals, transitional client questions, and
any other items regarding the client accounts.

         During the notice period (and for 2 years after Ms. Long’s separation from Gallagher), she
is prohibited from soliciting or servicing business from any Gallagher client or prospective client on
behalf of herself or any person or firm other than Gallagher. To the extent that she has contacted
any Gallagher clients that she worked with and attempted to divert their business to her future


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                                                                                  Mr. Brian Eldridge
                                                                                      July 13, 2022
                                                                                             Page 2


employer, we demand that she immediately cease and desist from contacting or soliciting Gallagher
clients and prospects and inform Mr. Devron of her contacts to date.

        I appreciate the representations that you made in your above-referenced letter. Ms. Long
has already destroyed evidence that would be relevant in litigation. You represent a reason why you
maintain Ms. Long had Gallagher information in her personal Gmail account. Gallagher is entitled
to know what that information is, when it was forwarded to Ms. Long’s personal email account,
what happened to that information after it was forwarded to her personal email account, etc.
Gallagher feels very strongly about maintaining the secrecy of its confidential information. We
demand that Ms. Long not destroy any record of her transmittal or use of Gallagher’s confidential
information or trade secrets, as defined in her Employment Agreement. Ms. Long should do
nothing to further spoliate evidence in her Gmail account, on personal computers or elsewhere.

        Ms. Long’s Employment Agreement contains several post-employment obligations which
will be triggered by virtue of her impending separation from Gallagher. These post-employment
obligations include the following:

       (1)     For two years from the date of your separation she may not, directly
               or indirectly, solicit, accept or perform any insurance-related or
               benefit-related business from any Gallagher client or actively solicit
               any prospect with whom she worked or became familiar with during
               her Gallagher employment;

       (2)     She may never use or disclose any Gallagher trade secret, and for
               two years from the date of her separation she may not use or
               divulge any of our Confidential Information1; and

       (3)     For two years from the date of her separation she may not, directly
               or indirectly, solicit, induce, or recruit any individual employed
               by us into leaving our employment and becoming employed by
               another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to her. Her post-
employment conduct is governed not only by the Agreement, but by certain state statutes and
common law as well.

       Please arrange for Ms. Long’s mobile devices to be brought to Gallagher’s offices tomorrow
in compliance with paragraph 6 of the Mobile Device Policy that she signed on November 5, 2014.
She must not delete, destroy, transfer, modify or otherwise alter any information on her mobile
1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 10 of 25 PageID #:486


                                                                                    Mr. Brian Eldridge
                                                                                        July 13, 2022
                                                                                               Page 3


devices or allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on her mobile devices.

        Finally, this correspondence is a demand for the preservation of any and all documents,
records and data that may constitute or lead to the discovery of relevant evidence in this matter.

        Please affirm as soon as possible that Ms. Long has abided by the terms of her Employee
Agreement and the Mobile Device policy referenced in this letter and that she intends to continue to
do so in the future.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Encls.
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 11 of 25 PageID #:487




                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 14, 2022

VIA EMAIL

Ms. Sara Arnold
        REDACTED




                               Re:     Resignation of Employment

Dear Ms. Arnold:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective May 17, 2021, (the “Agreement”).
Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 3, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 13, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your


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                                                                                      Ms. Sara Arnold
                                                                                       July 14, 2022
                                                                                               Page 2


future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.

         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its Confidential Information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-


1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 13 of 25 PageID #:489


                                                                                     Ms. Sara Arnold
                                                                                      July 14, 2022
                                                                                              Page 3


employment conduct is governed not only by the Agreement, but by certain state statutes and common
law as well.

        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Please immediately bring any and all mobile devices to Gallagher’s offices in compliance
with the Mobile Device Policy that you signed. A copy of that agreement is attached. Do not
delete, destroy, transfer, modify or otherwise alter any information on your mobile devices. Do not
allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on your mobile devices.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

         We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Encls.

cc:      Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 14 of 25 PageID #:490




                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 14, 2022

VIA EMAIL

Ms. Melissa Haggerty
         REDACTED




                               Re:     Resignation of Employment

Dear Ms. Haggerty:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective November 9, 2020, (the “Agreement”).
Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 2, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 12, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your


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                                                                                 Ms. Melissa Haggerty
                                                                                       July 14, 2022
                                                                                              Page 2


future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.

         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its Confidential Information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-


1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 16 of 25 PageID #:492


                                                                                Ms. Melissa Haggerty
                                                                                      July 14, 2022
                                                                                             Page 3


employment conduct is governed not only by the Agreement, but by certain state statutes and common
law as well.

        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Please immediately bring any and all mobile devices to Gallagher’s offices in compliance
with the Mobile Device Policy that you signed. A copy of that agreement is attached. Do not
delete, destroy, transfer, modify or otherwise alter any information on your mobile devices. Do not
allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on your mobile devices.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

         We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Encls.

cc:      Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
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                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 14, 2022

VIA EMAIL

Ms. Kelly Nicole Hogan
         REDACTED

                               Re:     Resignation of Employment

Dear Ms. Hogan:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective January 12, 2015, (the “Agreement”).
Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 3, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 13, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your
future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.


2850 West Golf Road
Rolling Meadows, Illinois 60008-4050
630.773.3800
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                                                                                     Ms. Kelly Hogan
                                                                                        July 14, 2022
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         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its Confidential Information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-
employment conduct is governed not only by the Agreement, but by certain state statutes and common
law as well.



1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
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                                                                                    Ms. Kelly Hogan
                                                                                       July 14, 2022
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        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Please immediately bring any and all mobile devices to Gallagher’s offices in compliance
with the Mobile Device Policy that you signed. A copy of that agreement is attached. Do not
delete, destroy, transfer, modify or otherwise alter any information on your mobile devices. Do not
allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on your mobile devices.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

         We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Encls.

cc:      Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 20 of 25 PageID #:496




                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 14, 2022

VIA EMAIL

Ms. Janet Schumacher
       REDACTED




                               Re:     Resignation of Employment

Dear Ms. Schumacher:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective December 17, 2014, (the
“Agreement”). Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 2, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 12, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your


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630.773.3800
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                                                                                Ms. Janet Schumacher
                                                                                        July 14, 2022
                                                                                               Page 2


future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.

         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its Confidential Information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-


1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 22 of 25 PageID #:498


                                                                               Ms. Janet Schumacher
                                                                                       July 14, 2022
                                                                                              Page 3


employment conduct is governed not only by the Agreement, but by certain state statutes and common
law as well.

        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Please immediately bring any and all mobile devices to Gallagher’s offices in compliance
with the Mobile Device Policy that you signed. A copy of that agreement is attached. Do not
delete, destroy, transfer, modify or otherwise alter any information on your mobile devices. Do not
allow any other person or entity to delete, destroy, transfer, modify or otherwise alter any
information on your mobile devices.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

       We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Enclosure

cc:    Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
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                                                                          Writer’s Direct Dial: (847) 378-2918
                                                                     Writer’s Email: maureen schoaf@ajg.com

                                             July 14, 2022

VIA EMAIL

Ms. Rosario Zaragoza
           REDACTED




                               Re:     Resignation of Employment

Dear Ms. Zaragoza:

         In light of your recent resignation, I am writing to advise you of Gallagher’s expectations of
you during your notice period, and to remind you of certain post-employment obligations, which
arise from the Employee Agreement you executed, effective May 21. 2012, (the “Agreement”).
Enclosed is a copy of the Agreement for your reference.

        As a preliminary matter, please understand that you remain an employee of Gallagher until
your notice period expires on August 2, 2022. I understand that you purportedly resigned from
Gallagher “effective immediately” on July 12, 2022, but you assumed certain obligations under
your Employee Agreement, including your agreement to provide 21 days’ notice of your
resignation. Your refusal to comply with the notice provision will constitute a breach of your
Agreement.

        During the notice period, your duties as an employee, including your fiduciary duties to
Gallagher, remain in full force and effect. That means, without limiting the scope of the obligation,
that you must refrain from any conduct or activity that does not serve Gallagher’s best interests.
While you will be excused from day-to-day attendance at work during this time period, you must
continue to work in Gallagher’s best interests. We expect you to honor your commitment to help
Gallagher transition your responsibilities, including your client representation responsibilities, to
other Gallagher personnel. Please contact Jeff Devron immediately and schedule a meeting this
week to identify the tasks we expect you to carry out and the manner in which you will be expected
to address any questions he may have relating to the status of client matters, renewals, transitional
client questions, and any other items regarding the client accounts.

        During the notice period (and for 2 years after your separation from Gallagher), you are
prohibited from soliciting, servicing or accepting business from any Gallagher client or prospective
client on behalf of yourself or any person or firm other than Gallagher. To the extent that you have
contacted any Gallagher clients that you worked with and attempted to divert their business to your


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                                                                                 Ms. Rosario Zaragoza
                                                                                        July 14, 2022
                                                                                               Page 2


future employer, we demand that you immediately cease and desist from contacting or soliciting
Gallagher clients and prospects.

         As you are aware, you are prohibited from copying, retaining, or destroying any Gallagher
files or documents, or from taking any action that could potentially inhibit Gallagher’s ability to
service its clients. To the extent that you have retained Gallagher documents or information, we
demand that you return to Gallagher any and all documents, records and data, including without
limitation electronically stored information, containing Gallagher Confidential Information, as
defined in your Employee Agreement. Please understand that your retention or use of Confidential
Information is a violation of your Agreement, no matter how it comes into your hands. Gallagher
feels very strongly about maintaining the secrecy of its Confidential Information. We take these
violations very seriously, and we will not hesitate to pursue legal and equitable relief against you, if
necessary.

       We expect that upon receipt of this letter, to the extent that you have not already done so,
you will immediately return your company-issued laptop to Gallagher. Please make arrangements
with David Horvath (david_horvath@ajg.com or (630) 285-4446) for the return of your laptop.

        With respect to your post-employment obligations to Gallagher, your Agreement contains
several post-employment obligations, which will be triggered by virtue of your separation from
Gallagher. These post-employment obligations include the following:

        (1)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, accept or perform any insurance-
                related or benefit-related business from any Gallagher client or
                actively solicited prospect with whom you worked or became
                familiar with during your employment;

        (2)     You may never use or disclose any Gallagher trade secret, and for
                two years from the date of your separation, you may not use or
                divulge any of our Confidential Information1; and

        (3)     For two years from the date of your separation you may not,
                directly or indirectly, solicit, induce, or recruit any individual
                employed by us into leaving our employment and becoming
                employed by another entity.

        With regard to (2) above, statutory and common law prohibitions against the unauthorized
disclosure of confidential and proprietary business information also apply to you. And so your post-


1
  “Confidential Information” is defined specifically in the Agreement. In the interest of brevity, we
have not repeated that lengthy definition here.
  Case: 1:22-cv-03931 Document #: 9-11 Filed: 07/28/22 Page 25 of 25 PageID #:501


                                                                               Ms. Rosario Zaragoza
                                                                                      July 14, 2022
                                                                                             Page 3


employment conduct is governed not only by the Agreement, but by certain state statutes and common
law as well.

        We understand that you have accepted a position with Alliant Insurance Services. Based on
our past experience, we know that Alliant does not share Gallagher’s commitment to instruct its
employees to honor and uphold restrictive covenants that they have with their previous employers.
In the event that it becomes necessary for Gallagher to take legal action to enforce its agreement, we
will not hesitate to do so. We hope that both you and Alliant will want to avoid any conduct that
will invite litigation or liability.

        Finally, you should consider this correspondence to be a demand for the preservation of any
and all documents, records and data that may constitute or lead to the discovery of relevant evidence
in this matter.

       We trust this letter leaves you with no questions about our position, and what we expect.

                                               Sincerely,

                                               /s/ Maureen Schoaf

                                               Maureen Schoaf
                                               Litigation Counsel

Enclosure

cc:    Jennifer Baumann, General Counsel, Alliant Insurance Services, jbaumann@alliant.com
